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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  )
                  Plaintiff,                      )
                                                  )
        v.                                        )
                                                  )
 ALL PETROLEUM PRODUCTS ABOARD                    )
 THE BELLA WITH INTERNATIONAL                     )
 MARITIME ORGANIZATION NUMBER                     )
                                                           Civil Action No. 20-1791 (JEB)
 9208124, et al.,                                 )
                                                  )
                  Defendants In Rem,              )
                                                  )
        - and -                                   )
                                                  )
 MOBIN INTERNATIONAL LIMITED, et al.,             )
                                                  )
                  Claimants.                      )
                                                  )

                               UNITED STATES’ STATUS REPORT

       By and through its undersigned counsel, Plaintiff United States of America (“United

States” or “Government”) respectfully submits this status report pursuant to the Court’s Minute

Order of November 5, 2020, regarding the schedule for briefing the motion to dismiss (ECF

No. 13) filed by Claimants Mobin International Limited, Oman Fuel Trading Ltd., and Sohar Fuel

Trading LLC FZC (collectively, “Claimants”), and Claimants’ responses to the United States’

Special Interrogatories.

       As noted in the United States’ prior status report, the United States completed its review

of Claimants’ responses to the United States’ Special Interrogatories. Claimants did not answer a

number of the interrogatories, and thus, the United States believes that its time to respond to

Claimants’ motion to dismiss has not yet begun to run.
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       After concluding its review, in early-November, the United States sent a letter to

Claimants’ counsel regarding the deficiencies in Claimants’ responses, identifying the

interrogatories that the United States believes Claimants improperly refused to answer and that

call for information that is highly relevant to the Court’s consideration of this matter. Last

Thursday, November 19, 2020, Claimants responded to the United States’ letter, reaffirming their

position that they need not respond further to the United States’ Special Interrogatories.

       The United States is considering how to proceed in light of Claimants’ response. Due to

matters and deadlines in other pending matters, and a family matter that has forced one member

of the United States’ litigation team to be away from the office, the United States respectfully

requests the Court provide it an additional period of time to present its proposal for further

proceedings in this matter. As indicated in the United States’ last status report, that proposal will

likely consist of a schedule either (i) to brief a motion to compel Claimants’ responses to the

identified interrogatories or (ii) to complete briefing on Claimants’ motion to dismiss and the

United States’ anticipated cross-motion for summary judgment.

       Accordingly, the United Sates respectfully requests that the Court permit it to file a further

status report on or before December 23, 2020, setting forth its proposal for further proceedings.

The United States intends to meet and confer with Claimants’ counsel in formulating its proposal,

including a proposed briefing schedule.



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Dated: November 24, 2020
       Washington, DC
                                    Respectfully submitted,

                                    MICHAEL R. SHERWIN
                                    Acting United States Attorney


                                    By:           /s/
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